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                                                                                    FILED IN THE
                                                                                U.S. DISTRICT COURT
                                                                          EASTERN DISTRICT OF WASHINGTON

1
                                                                          Sep 21, 2020
2                                                                              SEAN F. MCAVOY, CLERK

3
4                              UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF WASHINGTON
6    UNITED STATES OF AMERICA,
                                                         No.       2:19-CR-0045-WFN-1
7                               Plaintiff,
                                                         ORDER DENYING MOTION
8           -vs-                                         TO DISMISS
9    CARLOS SALGADO VELASQUEZ,
10                              Defendant.
11
12         Pending before the Court is Defendant's Motion to Dismiss the Indictment. ECF
13   No. 118. Before jumping into the merits of the Motion, the Court notes that the Motion
14   exceeds the page limit set out in the Local Rules by more than double. Counsel is advised
15   that leave must be sought to file an overlength brief. Failure to do so can lead to sanctions
16   or the Court simply ceasing to read after page 20. The Court has reviewed the entirety of
17   the briefing but advises counsel to be concise in future briefing.
18         Defendant asks the Court to dismiss the Indictment alleging that his constitutional
19   right to a speedy trial has been violated. Indicted in early 2019, the case has been pending
20   for over a year. The relevant procedural history shows that delays from the original trial
21   date arose from multiple causes. The case was continued on Defendant's Motions from the
22   original trial date of May 13, 2019, to January 21, 2020. On January 2, 2020, less than three
23   weeks prior to the trial date, Defendant filed a Motion to Suppress that required an
24   evidentiary hearing. Defendant originally agreed that a continuance from January 21, 2020
25   would be necessary to allow time for the Court to address the Motion to Suppress. Though
26   Defendant later objected to the extension of the trial date, it was the Defendant's actions that
27   caused the need for the continuance. An evidentiary hearing was held in early February
28   2020. After denying the Motion to Suppress, the Court reset the trial to May, overruling


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1    Defendant's request for a late February trial date. The three-month delay provided time to
2    send out special juror questionnaires and for the Government to procure Defendant's
3    requested information from Backpage.com, scheduled around defense counsel's travel plans,
4    and allowed the Government additional time to prepare for trial including accommodating
5    lay witnesses' schedules. The Court noted that key witnesses are minors living a distance
6    away from Spokane who will have to take time off school to testify.
7          The Court must examine the Barker factors to determine whether there has been a
8    constitutional violation of speedy trial: (1) the length of the delay; (2) the reason for the
9    delay; (3) the extent to which the defendant asserted his right; and (4) whether the defendant
10   suffered prejudice as a result of the delay. 407 U.S. 514 (2020). The length of the delay has
11   spanned approximately 18 months. The reasons for the delay during that period are varied,
12   but include 8 months on Defendant's Motion, 2 -3 weeks to allow time to address a late filed
13   substantive motion, 45 – 90 days were caused by the Government's need to prepare for trial,
14   including obtaining information sought by the Defendant from Backpage.com, as well as
15   accommodating defense counsel's travel schedule.          The Court delayed the trial from
16   mid-March to the current trial setting to protect the health and safety for participants and the
17   community from spread of COVID-19. A series of General Orders closed the courthouse to
18   jury trials to curtail spread of the virus. The Court has found specifically in this case that a
19   trial would be dangerous to the health and safety of the participants, including many
20   witnesses who need to travel, the potential and selected jurors due to space restrictions that
21   will hinder attempts at social distancing, and Defendant, counsel, and Court staff due to the
22   large influx of people in the courtroom.
23         The extent to which Defendant exerted his right is subject to some disagreement, but
24   about three days after the January trial date, Ms. Baggett filed an objection to a continuance
25   which she then reiterated at the following hearing. Defendant's position was undermined
26   somewhat by actions taken that required delay of the trial.
27         Defendant has not demonstrated prejudice. Defendant makes no particularized claims
28   of prejudice. The Court recognizes that in situations where official negligence causes


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1    excessive delay, a presumption of evidentiary prejudice arises. See Doggett v. United States,
2    505 U.S. 647 (1992). The delay in this case was not caused by official negligence. The
3    period of delay arguably attributable to the Government is a small percentage of the whole.
4    During the delay from February 4, 2020, the date of the Court's Order denying Defendant's
5    suppression motion, to the beginning of the COVID-19 pandemic, a delay according to the
6    Defendant was for the benefit of the Government, in addition to preparing for trial the
7    Government also was obtaining further evidence at Defendant's request. Examining the
8    factors together, the Court concludes that Defendant's constitutional right to a speedy trial
9    has not been violated.
10              Of note, the Court has also adhered to the Speedy Trial Act and has not violated
11   Defendant's rights pursuant to the Act. Each time the case was continued, the Court made
12   specific findings justifying the continuance in addition to the complex case finding and has
13   maintained a date certain for trial. The Court has reviewed the file and Motions and is fully
14   informed. Accordingly,
15              IT IS ORDERED that:
16              1. Defendant's Motion to Dismiss Indictment, filed August 17, 2020, ECF No. 118,
17   is DENIED.
18              2. All time from the filing of Defendant's Motion to Dismiss Indictment on
19   August 17, 2020, to the date of the hearing on September 21, 2020, is EXCLUDED for
20   speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
21              The District Court Executive is directed to file this Order and provide copies to
22   counsel.
23              DATED this 21st day of September, 2020.
24
25
26                                                   WM. FREMMING NIELSEN
     09-16-20                                 SENIOR UNITED STATES DISTRICT JUDGE
27
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